Case: 1:23-cv-14087 Document #: 7-3 Filed: 12/21/23 Page 1 of 2 PagelD #:77

Thursday, December 21, 2023 at 15:50:53 Central Standard Time

Subject: Re: Service of Dejan Deriknojic

Date: Tuesday, December 19, 2023 at 4:50:30 PM Central Standard Time

From: John Kreamer <jckreamer@kreamerlawgroup.com>

To: Adrianna Micciche <: ich psi.com>

cc: Kelly May <kellymay@kreamerlawgroup.com>, Kristine Mauro <KMauro@kreamerlawgroup.com>

Attachments: image001.jpg, image002.jpg, image003.jpg, image004.jpg, image005.jpg, image006.jpg, image007.jpg, image008.jpg, image009.jpg, image010.jpg, image011.jpg, image012.jpg,
image013.png, image001.jpg, image002.jpg, image003.jpg, image004.jpg, image00S. jpg, image006.jpg, image007.jpg, image008.jpg, image009.jpg, image010.jpg, image011.jpg,
image012.jpg, image013.png

He is living at that house He is visiting overseas after Christmas. Anyone at the house over 13 can be served.
Sent from my iPhone

On Dec 19, 2023, at 4:47PM, Adrianna Micciche <amicciche@elitepsi.com> wrote:

Our server made an attempt at the property. When he arrived, there was a black Mercedes leaving the property. Our server flagged the car down and
spoke with the driver. Per the server, It was not Dejan as the man did not match the previous photos provided, but someone who was either driving
Dejan’s vehicle or one like it. The driver told our server that Dejan is “overseas until the end of January and there is no one inside the residence.”

| advised the server to attempt at the property still despite what the person he spoke with said. Have you heard anything regarding Dejan being out of
the country for an extended period?

Thank you,

Adrianna Micciche

Client Relations Manager

[Pronouns: they/them/theirs] (what is th:s?)

Elite Process Serving, Inc.- IL Detective Agency License No. 117-001199
Phone - (855) 299-4600 Ext 810

Fax - (630) 299-4601

Email - amicciche@elitepsi.com

To make a payment CLICK HERE

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From: John Kreamer <jckreamer@kreamerlawgroup.com>

Date: Tuesday, December 19, 2023 at 2:55 PM

To: Adrianna Micciche <amicciche@elitepsi.com>

Cc: Kelly May <kellymay@kreamerlawgroup.com>, Kristine Mauro <KMauro@kreamerlawgroup.com>
Subject: Re: Service of Dejan Deriknojic

* * * External sender * * *

The mom just took the garbage can inside from the end of the driveway
Sent from my iPhone

On Dec 19, 2023, at 2:52 PM, John Kreamer <jckreamer@kreamerlawgroup.com> wrote:

His parents are living there. His mom has red Kia square car.
Sent from my iPhone

On Dec 19, 2023, at 2:43 PM, John Kreamer <jckreamer@kreamerlawgroup.com> wrote:

Adrianna -

Dejan is at his home right now at the Garfield address in Bur Ridge Illinois. His black Mercedes is in the driveway.

Sent from my iPhone

On Dec 18, 2023, at 10:32 AM, Kristine Mauro <KMauro@kreamerlawgroup.com> wrote:

Adrianna,

Our client is attempting to obtain one more address that Defendant Deriknojic can be served. We hope to receive is EXHIBIT
word from her before the end of this week. ne

S,

Case: 1:23-cv-14087 Document #: 7-3 Filed: 12/21/23 Page 2 of 2 PagelD #:78

Regards,

Kris Mauro

Paralegal

Kreamer Law Group, LLC

1100 E. Warrenville Road, Suite 135

Naperville, IL 60563

Phone: (630) 364-2140

Fax: (630) 597-9532

Email: kmauro@kreamerlaweroup.com<mailto:kmauro@kreamerlawgroun.com>

From: Adrianna Micciche <amicciche@elitepsi.com>
Date: Monday, December 18, 2023 at 10:02 AM

To: Kristine Mauro <KMauro@kreamerlaweroup.com>
Cc: John Kreamer <jckreamer@kreamerlawgroup.com>, Kelly May <kellymay@kreamerlaweroup.com>

Subject: Re: Service of Dejan Deriknojic
Good morning, the remaining addresses were closed as non-service. Is there another service address we could
attempt service at????

Thank you,

Adrianna Micciche

Client Relations Manager

[Pronouns: they/them/theirs) (what is this<https://pronouns.org/what-and-why/>;?)
Elite Process Serving, Inc.- IL Detective Agency License No. 117-001199

Phone - (855) 299-4600 Ext 810

Fax - (630) 299-4601

Email — amicciche@elitepsi.com<mailto:amicctche@elitepsi.

To make a payment CLICK HERE chttns://aeanvelitensi.com/tavments/>s

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From: Kristine Mauro <KMauro@kreamerlaweroun.com>

Date: Friday, December 15, 2023 at 3:53 PM

To: Adrianna Micciche <amicciche@elitepsi.com>

Cc: John Kreamer <jckreamer@kreamerlawgroup.com>, Kelly May <kellymay@kreamerlawgroup.com>
Subject: Service of Dejan Deriknojic

** * External sender * * *

Adrianna,
Thank you for forwarding the affidavit of service for DD Logistics. Hopefully, we will be able to get Dejan
Deriknojic served soon. After speaking with our client, please focus on serving him at the following addresses:

1. 6403 S. Garfield Avenue, Burr Ridge, IL 60527 (Dejan has cameras directed at his driveway and will not
answer the door if he does not recognize the vehicle or the person approaching the front door.)

1. DD Logistics, 679 E.S. Frontage Road, Bolingbrook, IL 60440

We discovered the defendant may be staying at a third location. Once we hear back from our client, we will reach
out to you.

Please contact John, Kelly, or me with any questions you may have.

Have a nice weekend.

Regards,

Kris Mauro

Paralegal

Kreamer Law Group, LLC

1100 E. Warrenville Road, Suite 135
Naperville, IL 60563

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